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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LEVISTRAUSS & CO.,
Plaintiff,
Vv.
GOUHAI OFFICIAL STORE, et al.,

Defendants.

 

 

Case No. 18-cv-06374
Judge Thomas M. Durkin

Magistrate Judge Susan E. Cox

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 4, 2018 [44], in

favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant for

willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

 

 

Defendant Name Line No.
JETMAN INTERNATIONAL GROUP
LIMITED 126
liyanshoeshop 152
xiaochengcheng 222

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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- Dated this 18th day of April 2019.

Respectfully submitted,

 

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Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 18th day of April 2019.

Given under by hand and notarial seal.

CAITLIN SCHLIE
Official Seal

Notary Public ~ State of ilfinois
My Commission Expires Nov 20, 2021

 

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Notary Public

State of Illinois
County of Cook
